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                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF D.C.

THE CENTER FOR INVESTIGATIVE                    )
REPORTING,                                      )
                                                )
       Plaintiff,                               )           Case No. 18-cv-2901
                                                )
       v.                                       )
                                                )
U.S. CUSTOMS AND BORDER                         )
PROTECTION, et al.,                             )
                                                )
       Defendants.                              )

   PLAINTIFF’S COMBINED OPPOSITION TO DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT AND IN SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR
                      SUMMARY JUDGMENT

       This is a simple case of over-redaction involving a FOIA request for records related to

the proposed border wall that has occupied a significant amount of political and public attention

and debate. While, based on Defendants’ Vaughn Index and affidavit, Plaintiff does not dispute

Defendants’ Exemption 3 claim, Defendants have not established their Exemption 4, Exemption

5, or aspects of their Exemption 7(E) claims.

       Under Exemption 4, Defendants concede that the records were required to be produced to

the government, and thus, are subject to lesser protection. But in violation of established case

law, Defendants offer only a conclusory agency declaration and none from the submitters

themselves.   Under Exemption 5, Defendants have not established or even addressed the

“foreseeable harm” requirement under the 2016 FOIA amendments with the required level of

specificity. And under Exemption 7(E), Defendants rely on statements that are so sweeping and

lacking in specific detail that even features of the wall visible to the naked eye fall within the

blanket assertions (including whether it will be painted black and adorned with spikes and other
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things the President has specified, as well as other features that have been disclosed in publicly

available pictures. See Nick Miroff et al, Trump Wants His Border Barrier To Be Painted Black

With Spikes. He Has Other Ideas, Too, Wash. Post, May 16, 2019. 1

       Defendants’ motion for summary judgment should be denied and Plaintiff’s motion for

summary judgment should be granted.

                                I.         FACTUAL BACKGROUND

       Plaintiff challenges the withholding of records under Exemption 4, including:

“information pertaining to matters such as specific company resources that are dedicated to

construction, company border security capabilities, company financial data and other contract

management information.” Def. SOF ¶ 25. Plaintiff challenges the withholding of records under

Exemption 5, including: “information under consideration by CBP as the agency moved towards

a decision on how to administer the evolving process.” Id. at ¶ 30. Plaintiff challenges the

withholding of records under Exemption 7(E), including: records “pertaining to the procurement

and construction of a border wall.” Id. at ¶ 37.

       Plaintiff is not challenging Defendants’ withholdings made pursuant to Exemption 3 and

Exemptions 6 and 7(C).

                                     II.    LEGAL STANDARDS

       FOIA limits agencies’ ability to keep records secret and reflects a policy favoring

disclosure. U.S. Dep’t of Justice v. Reporters Comm. for Freedom of Press, 489 U.S. 749, 754

(1989). The Supreme Court has repeatedly stressed “the fundamental principle of public access

to Government documents that animates the FOIA.” John Doe Agency v. John Doe Corp., 493

1
  Available at https://www.washingtonpost.com/national/trump-wants-his-border-barrier-to-be-
painted-black-with-spikes-he-has-other-ideas-too/2019/05/16/b088c07e-7676-11e9-b3f5-
5673edf2d127_story.html (last accessed June 5, 2019).
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U.S. 146, 151 (1989). “FOIA thus mandates that an agency disclose records on request, unless

they fall within one of nine (narrow) exemptions.” Milner v. Dep’t of Navy, 562 U.S. 562, 565

(2011). Because disclosure is the “dominant objective” of FOIA, courts narrowly construe FOIA

exemptions. Id. at 579-81 (reversing appellate court).

          A central purpose of FOIA is to “check against corruption and to hold the governors

accountable to the governed.” See Department of Justice, About FOIA 2 (quoting NLRB v.

Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978)). When an agency claims an exemption,

“FOIA expressly places the burden on the agency to sustain its action and directs the district

courts to determine the matter de novo.” Reporters Comm., 489 U.S. at 755 (citing 5 U.S.C. §

552(a)(4)(B)).

          An agency may meet its burden of proof by providing affidavits. ACLU v. U.S. Dep’t of

Def., 628 F.3d 612, 619 (D.C. Cir. 2011). “Conclusory” or “boilerplate” affidavits, however, do

not suffice. Larson v. Dep’t of State, 565 F.3d 857, 864 (D.C. Cir. 2009); Citizens for

Responsibility & Ethics in Washington v. U.S. Dep’t of Justice, 746 F.3d 1082, 1101 (D.C. Cir.

2014). Nor do affidavits that “merely recite statutory standards” or are “vague or sweeping.” Id.

Rather, agency affidavits must contain “specific detail” justifying withholding, and not be called

into question by contradictory evidence, to carry the government’s burden of proof. ACLU, 628

F.3d at 619; see also Multi Ag Media LLC v. Dep’t of Ag., 515 F.3d 1224, 1227 (D.C. Cir. 2008).

                                        III.   ARGUMENT

             A. Defendants Failed To Carry Their Burden Of Proving Exemption 4

          Defendants concede that they required the production of the records at issue. Suzuki

Decl. ¶ 25. Defendants also concede that Exemption 4 offers markedly less protection to

2
    Available at https://www.justice.gov/archives/open/foia (last accessed June 5, 2019).
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material “required” to be produced. Id. Here, the test laid out in National Parks & Conservation

Ass'n v. Morton applies. 498 F.2d 765, 770 (D.C. Cir. 1974); see also Critical Mass Energy

Project v. Nuclear Regulatory Comm'n, 975 F.2d 871, 879 (D.C. Cir. 1992). Thus, Defendants

can only withhold the records if they prove that disclosure is likely “(1) to impair the

Government’s ability to obtain necessary information in the future; or (2) to cause substantial

harm to the competitive position of the person from whom the information was obtained.” Nat’l

Parks, 498 F.2d at 770. Of the test’s two prongs, Defendants only assert competitive harm.

Suzuki Decl. ¶ 25.

       Critically, Defendants offer no declarations from the submitters themselves. “Courts

have repeatedly rejected competitive harm claims when they are advanced solely by the

defendant agencies.” Newry Ltd. v. U.S. Customs & Border Prot. Bureau, 2005 WL 3273975, at

*4 (D.D.C. July 29, 2005) (rejecting competitive harm advanced solely by the agency and noting

the lack of submitter affidavits) (citing Wiley Rein & Fielding v. Dep't of Commerce, 782

F.Supp. 675, 676 (D.D.C.1992) (rejecting competitive harm claim because “no evidence” was

submitted to suggest that the companies themselves object to disclosure)); Brown v. Dep't of

Labor, 1991 U.S. Dist. LEXIS 1780, at *7 (D.D.C. Feb. 15, 1991) (rejecting competitive harm

claim because submitters of information failed to protest the release of information);

100Reporters LLC v. United States Dep't of Justice, 307 F.R.D. 269, 280 (D.D.C. 2014) (quoting

and citing same); see NYC Apparel FZE v. U.S. Customs & Border Prot., 484 F. Supp. 2d 77,

93–94 (D.D.C. 2007) (“the agency must submit evidence showing that the submitters of the

information themselves object to the disclosure of the information”). This reason alone is

sufficient to reject Defendants’ Exemption 4 claim.



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       In addition, however, Defendants offer only generic and conclusory statements that there

is a risk of competitive harm. They state that “releasing the information would reveal the

competitive vulnerabilities and operational capabilities of various competitors.” Suzuki Decl. ¶

25. Defendants then state that release “would enable competitors to exploit this information for

their benefit by enhancing their ability to obtain future government contracts by formulating and

altering their business strategies.” Id. These “conclusory” and “vague or sweeping” statements

lack the “specific detail” required by law. Larson v. Dep’t of State, 565 F.3d 857, 864 (D.C. Cir.

2009); Citizens for Responsibility & Ethics in Washington v. U.S. Dep’t of Justice, 746 F.3d

1082, 1101 (D.C. Cir. 2014).

       Defendants also failed to prove that there is any foreseeable harm under Exemption 4. As

addressed in detail below, unless “the agency reasonably foresees that disclosure would harm an

interest protected by an exemption” the records sought must be produced.             5 U.S.C. §

552(a)(8)(A)(i). Congress passed this amendment to the FOIA statute to make it clear that FOIA

contains a presumption of openness and that government agencies cannot default to secrecy any

time they can piece together a justification for asserting an exemption. Defendants did not meet

their burden regarding foreseeable harm and the records must be produced.

       Finally, even without knowing precisely what is under the redactions, it is unlikely that

the information is exempt because no competitive harm will result from release of information

about this one-time, non-recurring project. In sum, Defendants’ Exemption 4 claim fails for

three independent reasons: (1) they offer no declarations from the submitters, (2) the statements

in Defendants’ declaration lack specific detail and are so generic and conclusory that they would

not suffice even if they had been provided by the submitters themselves, and (3) Defendants

failed to carry their burden of proving foreseeable harm.

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           B. Defendants Have Not Established Foreseeable Harm As Part of Their
              Exemption 5 Claims

       Defendants bear the burden of proving that Exemption 5 (like all others) applies to the

withheld records. Tax Analysts v. IRS, 117 F.3d 607, 616 (D.C. Cir. 1997). For a record to

qualify for the deliberative process privilege, it “must be both pre-decisional and deliberative.”

Abtew v. U.S. Dep’t of Homeland Sec., 808 F.3d 895, 898 (D.C. Cir. 2015). As D.C. courts have

stated: “It bears emphasizing at the outset that ‘[t]he need to describe each withheld document

when Exemption 5 is at issue is particularly acute because ‘the deliberative process privilege is

so dependent upon the individual document and the role it plays in the administrative process.’”

Elec. Frontier Found. v. U.S. Dep't of Justice, 826 F. Supp. 2d 157, 167–68 (D.D.C. 2011)

(citing and quoting Animal Legal Defense Fund, Inc. v. Dep't of the Air Force, 44 F.Supp.2d

295, 299 (D.D.C.1999) (quoting Coastal States Gas Corp. v. Dep't of Energy, 617 F.2d 854, 867

(D.C. Cir. 1980)).

       Under the 2016 amendments to the FOIA statute, even if a record would otherwise be

exempt, however, it cannot be withheld unless there is (1) a legal prohibition against release, or

(2) “the agency reasonably foresees that disclosure would harm an interest protected by an

exemption[.]” 5 U.S.C. § 552(a)(8)(A)(i). In passing these amendments, “Congress sought to

establish a ‘presumption of openness’ in FOIA.” Rosenberg v. U.S. Dep't of Def., 342 F. Supp.

3d 62, 72–73 (D.D.C. 2018). This was “based on the recognition that ‘from the beginning,

agencies have taken advantage of these exemptions to withhold any information that might

technically fit.’” Judicial Watch, Inc. v. U.S. Dep't of Commerce, No. 17-CV-1283 (EGS), 2019

WL 1317557, at *5 (D.D.C. Mar. 22, 2019) (quoting 162 Cong. Rec. H3714-01, H3717162




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(2016) (noting that although some agencies “have made an effort to comply with the letter of the

law, very few have complied with the spirit of the law”).

       “[P]ursuant to the FOIA Improvement Act, an agency must release a record—even if it

falls within a FOIA exemption—if releasing the record would not reasonably harm an

exemption-protected interest and if its disclosure is not prohibited by law.” Id. at 73. To satisfy

this heightened requirement, the agency must “articulate both the nature of the harm and the link

between the specified harm and specific information contained in the material withheld.”

Judicial Watch, 2019 WL 1317557, at *5 (quoting H.R. Rep. No. 114-391, at 9 (2016)).

“Boilerplate” language is insufficient. Id. Similarly, the Senate Report for the bill explains that

“mere speculative or abstract fears . . . are an insufficient basis for withholding information.” S.

Rep. No. 114–4, at 8 (2015).

       Rosenberg held that the government may satisfy this burden through a “categorical

approach,” though even still it “must do more than perfunctorily state that disclosure of all the

withheld information—regardless of category or substance—would” result in the claimed harm.

342 F. Supp. 3d 62, 72–73 (D.D.C. 2018). A Northern District of California decision goes

further, however, requiring proof of harm for each specific record. Ecological Rights Found. v.

Fed. Emergency Mgmt. Agency, No. 16-CV-05254-MEJ, 2017 WL 5972702, at *6 (N.D. Cal.

Nov. 30, 2017), appeal dismissed, No. 17-17539, 2018 WL 3155689 (9th Cir. Jan. 12, 2018)

(“Absent a showing of foreseeable harm to an interest protected by the deliberative process

exemption, the documents must be disclosed. In failing to provide basic information about the

deliberative process at issue and the role played by each specific document, FEMA does not

meet its burden of supporting its withholdings with detailed information pursuant to the



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deliberative process privilege.” (emphasis added)). While there are no Circuit Court decisions

on the foreseeable-harm requirement, D.C. courts have applied it.

       While either a categorical or document-specific approach requires a showing that

Defendants have not made, this Court should adopt the document-specific (or here, redaction-

specific) approach. Congress explained that the foreseeable harm standard mandates that “the

content of a particular record should be reviewed and a determination made as to whether the

agency reasonably foresees that disclosing that particular document, given its age, content, and

character, would harm an interest protected by the applicable exemption.” S. Rep. No. 114–4, at

8 (emphasis added). Defendants’ generic statements do not even carry their burden of proving

foreseeable harm categorically, let alone on a document-by-document basis.

       As elsewhere in the exemption analysis, the government bears the burden of proof on

foreseeable harm. Judicial Watch, 2019 WL 1317557, at *3. The declarations put forth by

Defendants do not “articulate both the nature of the harm and the link between the specified

harm and specific information contained in the material withheld.” Suzuki Decl. at ¶¶ 26-31. In

fact, the declaration does not even directly address foreseeable harm. Id.

       As explained in Judicial Watch in finding the government failed to meet its burden:

       In Mr. Graff’s first declaration he explained that release of the withheld
       information “could have a chilling effect on the discussion within the agency in
       the future” and “discourage[ ] a frank and open dialogue among agency
       employees.” See Graff Decl., ECF No. 14-2 at 4. He further explained in his
       second declaration that the “foreseeable harm” in releasing the withheld
       information was that it “could have a chilling effect on the discussions within the
       agency” and added that these “deliberations are essential to ensuring that the right
       information is delivered to [the] public” and that failure “to have these frank
       deliberations could cause confusion if incorrect or misrepresented climate
       information remained in the public sphere.” Second Graff Decl., ECF No. 17-2 at
       2–3. These general explanations of the possibility of a “chilling effect” fall short
       of articulating “a link between the specified harm and specific information
       contained in the material withheld.” See H.R. Rep. No. 114-391, at 9 (2016).

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       ***

       The question is not whether disclosure could chill speech, but rather if it is
       reasonably foreseeable that it will chill speech and, if so, what is the link between
       this harm and the specific information contained in the material withheld. In other
       words, the Act requires more than speculation, which is all that Commerce has
       provided through its declarations and Vaughn indexes.

Id.

       In this case, the declaration does not discuss foreseeable harm or even use the word

“harm” when discussing Exemption 5. Suzuki Decl. at ¶¶ 26-31. In their brief Defendants

merely characterize two sentences as addressing harm. Def. MSJ at 13. These two sentences at

most make passing reference to the possibility of harm with generic and barebones language.

Suzuki Decl. at ¶ 30. Defendants state that release “would have revealed how CBP employees

are prioritizing different facts and what facts they consider to be important in the process,” and

that release would have created “confusion regarding the reasons and rationales that may not

ultimately be the grounds for any actions the agency may take regarding the ongoing process.”

Def. MSJ at 13; Suzuki Decl. at ¶ 30. Just as in Judicial Watch, these “general explanations” fall

short of “articulating ‘a link between the specified harm and specific information contained in

the material withheld.’” Judicial Watch, 2019 WL 1317557, at *5. The question is not whether it

is possible that disclosure would discourage frank discussions. Rather, the question is whether it

is both reasonably foreseeable that it will and, if so, what is the link between the harm and

records at issue. Defendants have only addressed the potential for harm in the most cursory

manner and have failed to address the link entirely.       As a result, the deliberative process

exemption does not apply and the records must be produced.




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           C. Defendants Failed To Carry Their Burden Of Proving Exemption 7(E)

       To invoke the “techniques and procedures” prong of Exemption 7(E), the government

must demonstrate that its withholdings meet three basic requirements. First, “the government

must show that the documents were in fact ‘compiled for law enforcement purposes’ and not for

some other reason.” Am. Immig. Council v. U.S. Dep’t of Homeland Sec., 950 F.Supp.2d 221,

245 (D.D.C. 2013) (citing 5 U.S.C. § 552(b)(7)). “Second, [the agency] must show that the

records contain law-enforcement techniques and procedures that are ‘generally unknown to the

public.’” Id. (quoting Nat'l Whistleblower Ctr. v. Dep't of Health & Human Servs., 849

F.Supp.2d 13, 36 (D.D.C. 2012)). “Finally, the government must show that disclosure ‘could

reasonably be expected to risk circumvention of the law.’” Id. (citing 5 U.S.C. § 552(b)(7)(E)

and Nat'l Whistleblower, 849 F.Supp.2d at 36). See also Elec. Privacy Info. Ctr. v. Customs &

Border Prot., 160 F. Supp. 3d 354, 358–59 (D.D.C. 2016).

       Defendants’ assertions of Exemption 7(E) are overly vague and sweeping and it appears

Defendants simply withheld too much information. Plaintiff does not dispute that there may be

portions of records that are properly exempt under 7(E), but the Vaughn Index provided is far too

vague to support Defendants’ blanket assertions of 7(E). Elec. Privacy Info. Ctr., 160 F. Supp.

3d at 359 (the declarant’s “minimally descriptive” statements “do not provide the Court with

sufficient detail regarding the law enforcement techniques or procedures the defendant seeks to

protect.”); Strunk v. U.S. Dep’t of State, 845 F. Supp. 2d 38, 47 (D.D.C. 2012) (the defendant’s

submissions “offer too little detail to allow this Court to undertake a meaningful assessment of

the redacted material”); Am. Immigration Council, 950 F. Supp. 2d at 246 (“vaguely formulated

descriptions will not suffice; accordingly, the government must provide sufficient facts and

context”); Allard K. Lowenstein Int'l Human Rights Project v. U.S. Dep’t of Homeland Sec., 603

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F. Supp. 2d 354, 360 (D. Conn. 2009) (criticizing agency descriptions as “so vague and general

that they are of little, or no, use to Plaintiffs or this Court”); El Badrawi v. Dep’t. of Homeland

Sec., 583 F. Supp. 2d at 313-16, 319-20 (D. Conn. 2008) (ordering in camera review for all

Exemption 7(E) claims made by defendants due to deficiencies in declarations).

       Although the D.C. Circuit “‘ha[s] never required repetitive, detailed explanations for each

piece of withheld information,’ the FOIA nevertheless requires an agency to provide ‘a relatively

detailed justification’ for the application of FOIA exemptions.” Elec. Privacy Info. Ctr., 160 F.

Supp. 3d at 360 (citations omitted). Defendants’ Vaughn Index uses overly broad and vague

statements, including the following:

           •   “Redactions were applied pursuant to Exemption (b)(7)(E) in order to protect
               tactical infrastructure plans that could reveal access points and other site strengths
               or vulnerabilities.” Def. Ex. B at entry 2.

           •   “Exemption (b)(7)(E) was applied to protect information such as the specific
               location of U.S. Border Patrol forward operating bases which are strategically
               located for the sustainment of tactical operations.” Def. Ex. B at entry 9.

           •   “Exemption (b)(7)(E) was applied to protect sensitive information pertaining to
               CBP infrastructure projects. Releasing this law enforcement information could
               potentially enable individuals to develop countermeasures to evade border
               security measures relating to such projects.” Def. Ex. B at entries 13, 14, 18.

           •   “[I]nformation was withheld relating to tactical infrastructure construction plans
               that could reveal potential strengths or vulnerabilities to violators as well as other
               sensitive information relating to U.S. Government border facilities and operations.
               Releasing this data could enable individuals to develop countermeasures to evade
               detection thereby circumventing the law.” Def. Ex. A at entry 2.

           •   “[S]pecific information was withheld pertaining to U.S. Border Patrol forward
               operating bases, which are forward facilities in remote locations for the
               sustainment of sector and/or station tactical operations. Release of this
               information could enable individuals to create a blueprint of specific station
               activity thereby revealing the comparative strengths and weaknesses of various
               U.S. Border Patrol stations. This information could enable individuals to develop
               countermeasures to evade border security measures thereby circumventing the
               law.” Def. Ex. A at entry 11.

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           •     “[S]pecific information was withheld pertaining to the allocation of U.S. Border
                 Patrol resources during the construction of infrastructure. Release of this
                 information could enable individuals to create a blueprint of specific station
                 activity during construction thereby revealing the comparative strengths and
                 weaknesses of various U.S. Border Patrol stations. This information could enable
                 individuals to develop countermeasures to evade border security measures thereby
                 circumventing the law.” Def. Ex. A at entries 15, 16.

These statements are so sweeping and asserted over so many pages of records as to encompass

even information about the wall that is visible to the naked eye. Basic information about walls—

such as height, color, thickness and whether there are spikes—is not confidential and is generally

known to the public, and therefore not exempt under Exemption 7(E). See Founding Church of

Scientology of D.C. v. NSA, 610 F.2d 824, 832 n.67 (D.C. Cir. 2004) (finding Exemption 7(E)

does not ordinarily protect “routine techniques and procedures already well known to the

public”); Elec. Frontier Found. v. DOJ, No. 17-1039, 2019 WL 1714433, at *3 (D.D.C. Apr. 17,

2019) (same) (quoting Founding Church of Scientology of D.C., 610 F.2d at 832); Elkins v. Fed.

Aviation Admin., 134 F.Supp.3d 1, 4 (D.D.C. 2015) (agency “must [also] show that the records

contain law-enforcement techniques and procedures that are generally unknown to the public”)

(quotation and citation omitted). Any person can simply walk up to the wall and look at it. Yet

as far as Plaintiff can tell from the general statements provided, this information (and more) has

been withheld.

       Moreover, the President of the United States has viewed the blueprints for the wall and

made public comments about it. 3 These comments include discussing the wall’s color and

stating that it should be painted “flat black.” The President also stated that the blueprints contain


3
 Nick Miroff et al, Trump complains border wall is ‘ugly’ and wants it painted black with
spikes, officials say, Independent (June 6, 2019),
https://www.independent.co.uk/news/world/americas/us-politics/trump-mexico-border-wall-
spikes-homeland-security-a8917846.html.
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too many gates with openings that are too large. Surely, if the commander in chief saw fit to

release this information regarding the wall’s blueprints, information visible to the naked eye, it

could not endanger any law enforcement techniques. At a minimum, Defendants must release

this and other comparable information.

       In short, Defendants’ Vaughn Index is just too vague and sweeping to carry their burden

of proof under Exemption 7(E).

                                     IV.    CONCLUSION

       This Court should deny Defendants’ motion for summary judgment and grant Plaintiff’s

motion for partial summary judgment.



Dated: June 14, 2019

                                                       RESPECTFULLY SUBMITTED,

                                                       /s/ Joshua Hart Burday

                                                       ____________________________

                                                       Attorneys for Plaintiff
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                             CERTIFICATE OF SERVICE

       I, Joshua Burday, and attorney, hereby certify that on June 14, 2019, I caused the
foregoing PLAINTIFF’S COMBINED OPPOSITION TO DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT AND IN SUPPORT OF PLAINTIFF’S CROSS-MOTION FOR
SUMMARY JUDGMENT to be served on all counsel of record via the Court's CM/ECF system.


                                                   /s/ Joshua Hart Burday




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